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1    David S. Korzenik
     Terence P. Keegan
2    Miller Korzenik Sommers Rayman LLP
     1501 Broadway, Suite 2015
3    New York, New York 10036
     Telephone: 212-752-9200
4
     dkorzenik@mkslex.com
5    tkeegan@mkslex.com

6    Pro Hac Vice Applications to be made forthwith
7
     Joshua Koltun (Bar No. 173040)
8    Attorney
     1 Sansome Street
9    Suite 3500, No. 500
     San Francisco, California 94104
10   Telephone: 415.680.3410
     Facsimile: 866.462.5959
11   joshua@koltunattorney.com
12   Attorneys for Non-Party Witness Roger Parloff
13
                                         UNITED STATES DISTRICT COURT
14
                                        NORTHERN DISTRICT OF CALIFORNIA
15
                                                   SAN JOSE
16
17   UNITED STATES OF AMERICA                        )       Case No.: 5:18-cr-00258 EJD (NC)
                                                     )
18                        Plaintiffs,                )       MOTION OF ROGER PARLOFF TO
                                                     )       QUASH SUBPOENA AND FOR A
19             v.                                    )       PROTECTIVE ORDER;
                                                     )       MEMORANDUM OF LAW IN
20   ELIZABETH HOLMES and RAMESH                     )       SUPPORT THEREOF AND IN
     “SUNNY” BALWANI,                                )       OPPOSITION TO MOTION TO
21                                                   )       COMPEL
                          Defendants.                )
22                                                   )       Filed Herewith:
                                                     )       Declaration of Roger Parloff
23                                                   )       [Proposed] Order
                                                     )
24                                                   )       Date: October 13, 2021
                                                     )       Time: 11:00 am
25                                                   )       Place: Remote Hearing per Court Order
                                                     )       Judge: The Hon. Nathanael Cousins
26                                                   )
                                                     )
27
28

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                                                                             - iii -
     Parloff Motion and Opposition                                                                                             18-cr-00258-EJD (NC)
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1                                          MOTION AND OPPOSITION
2
               Roger Parloff – a journalist and third-party witness in this proceeding – by his counsel,
3
     Miller Korzenik Sommers Rayman LLP and Joshua Koltun, hereby opposes Defendant’s Motion
4
     To Compel (Dkt. 1028) (“Mot.”) and moves this Court to quash the Subpoena1 and grant an order in
5
6    limine to confine the scope of Parloff’s testimony so that it only involves Parloff’s interviews with

7    Defendants Holmes and Balwani and does not reach his interviews with any other persons.

8              Given the stage at which Defendant’s Motion To Compel was made and the late stage in this
9
     proceeding at which the Subpoena was emailed to Parloff, we do not know how the Court would
10
     prefer to engage the pending motion regarding document discovery and the motion in limine for a
11
     protective order regarding testimony. All motions and cross-motions address identical issues, to wit:
12
     whether or not there exists a robust Reporter’s Privilege in the Ninth and Second Circuits, and
13
14   whether the materials and information as to which the subpoena is addressed are matters as to which

15   Holmes has made a proper showing to overcome that Reporter’s Privilege, or indeed that she is
16   entitled to such information under Fed. R. Crim. P. 17. The same papers would serve to assert
17
     Respondent Parloff’s legal position as they effect both documents and testimony. In view of trial
18
     management needs, the Court may prefer to take up both motions before Magistrate Judge Cousins or
19
     before Judge Davila. Judge Davila may want the benefit of Magistrate Cousins’ assessment first. We
20
21   request the Court’s guidance as to how it will hear and rule on these parallel applications. At a

22   minimum, we believe it would conserve judicial resources if the parties conducted some argument

23
24
25
26
     1
       Holmes and Parloff counsel stipulated to presentation of these issues on a motion to compel rather
27   than by way of motion to quash. The motion to quash here is made as a pro forma matter to avoid any
     waiver of rights.
28

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     (outside the jury), concerning the potential assertion of Reporter’s Privilege, to obtain at least a
1
2    preliminary ruling that will enable to testimony and raising of objections to proceed smoothly. 2

3                                           MEMORANDUM OF LAW

4                                                   Introduction
5
               Let us begin by making clear what is not at issue on these cross motions. Roger Parloff
6
     voluntarily supplied his notes and recordings of his interviews with Defendants Holmes and Ramesh
7
     “Sunny” Balwani to the U.S. Attorney. He did not do so selectively; but provided them in full and
8
     complete context. He made sure that both sides received the same materials. He will appear at trial to
9
10   testify as to his communications with Holmes, and does not expect to assert the Reporter’s Privilege

11   with respect to such communications.
12             What is at issue on these motions is Holmes’ effort to obtain documents, and to examine
13
     Parloff at trial, concerning his communications with a number of persons other than Holmes or
14
     Balwani. As to this material and information, he does assert the Reporter’s Privilege. Holmes has not
15
     shown that she can overcome that privilege as to these materials, or even that she can meet the
16
17   requirements of Rule 17 for such materials.

18             This is a fishing expedition in which Holmes’ counsel can at best hope to find something

19   interesting, useful or colorful. The stated “relevance” of the materials sought is incoherent; their
20   putative “admissibility” is at best hypothetical and improbable; and the so-called “specificity” of the
21
     requests wishful and manufactured. A good number of the “notes and recordings” demanded do not
22
     exist. Holmes’ counsel is guessing. The claim that none of the materials are “confidential” is
23
     likewise simply false. Some are in whole or in part confidential or on background.
24
25
26   2
      The Subpoena can be found as Exhibit A to the Declaration of John D. Cline in Support of Holmes’
27   Motion To Compel (Dkt. 1028-1, at 4); 2) Parloff’s Objections to the Subpoena are attached as
     Exhibit B (id. at 9); and 3) Parloff’s Declaration in opposition to Holmes’ Motion To Compel and in
28   support of his cross-motion to quash or modify accompanies this Memorandum.

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                                               Factual Background
1
2              Parloff Background: Roger Parloff is a journalist who was employed by Fortune as its main

3    legal correspondent from 2004 to 2016. His last title there was Editor at Large. Prior to that he had

4    been on staff at the American Lawyer for 12 years. Parloff has received numerous awards for
5
     journalism. Since leaving Fortune, he has been published in ProPublica, The New York Times, Yahoo
6
     Finance, and in the online editions of The New Yorker and New York magazine, among others.
7
     Parloff has a law degree from Yale Law School and practiced law briefly before turning to journalism.
8
               Fortune’s 2014 Cover Article about Theranos: In 2014 Parloff interviewed Elizabeth Holmes
9
10   and Ramesh Balwani about their company, Theranos. On the basis of those interviews, Parloff wrote

11   a feature article about Holmes and Theranos. The article appeared in Fortune magazine as the cover
12   story of its June 2014 issue. It was entitled, “This CEO Is Out for Blood.” It was highly favorable to
13
     the new enterprise and its principals, Holmes in particular. According to the Indictment and SEC
14
     Complaint, Theranos gave the Fortune cover article to investors who relied on it to their detriment.
15
     The Fortune cover story appears as Exhibits C and D (Dkt. 1028-1, at 17, 30).
16
17             While the cover story was based on the extensive interviews with Holmes, Parloff conducted

18   other interviews with other sources, some of them suggested by Ms. Holmes and arranged with her

19   assistance. Beyond Ms. Holmes, there was no other public relations intermediary for the cover story.
20   Balwani was interviewed once.
21
               Parloff’s Subsequent December 2015 Report: On December 17, 2015, Parloff published, on
22
     Fortune’s website, an article, “How Theranos Misled Me.” This article discussed new revelations
23
     about Theranos’ business and Theranos’ public responses to them and to questions that Parloff had put
24
25   to them. Seeing that his readers would have been misled by the prior article, Parloff acted on what he

26   saw as his duty to correct the prior reporting. See Exhibit E (Dkt. 1028-1, at 32).

27
28

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               Parloff’s Limited Waiver of the Reporter’s Privilege: Most serious journalists and their
1
2    publications, take the Reporter’s Privilege seriously. They resist efforts to subpoena their reporting

3    materials or to disclose sources and unpublished materials obtained in the course of their

4    newsgathering. Journalists will in most cases resist efforts to force disclosure of both confidential
5
     materials and non-confidential materials. Yielding to subpoenas and allowing disclosure can
6
     compromise, burden, impair and even cripple the newsgathering process.
7
               While this privilege is usually quite strictly and firmly asserted by journalists and news
8
     organizations, there are on rare occasions circumstances in which a journalist may find it ethically
9
10   appropriate and compelling to disclose some of their source materials to litigants. For example, a

11   journalist might ethically agree to a limited waiver of the valued reporter’s privilege if he or she finds
12   that a source has clearly been dishonest in their statements to them; that the journalist wrote and
13
     published an article that relied on those statements; and that readers relied on that article to their
14
     detriment.
15
               That is what happened here. In early April 2018, Parloff received a call from the U.S.
16
17   Attorney’s Office in San Francisco. They asked if he would speak with them. Parloff learned that the

18   SEC had initiated an action against Theranos’ principals. According to the Complaint, the Defendants

19   had given his Fortune cover article to investors. The Government’s interest in the article was
20   therefore specifically focused on what Holmes and Balwani had told Parloff in his interviews with
21
     them.
22
               What Parloff provided was discrete, limited and properly complete so that there could be no
23
     unfairness as to the context of the disclosed interviews. The full interview notes and recordings were
24
25   provided. And they were provided not just to one side, but to all parties. Parloff’s counsel made sure

26   that both sides received the full set of materials disclosed. Parloff met with the prosecutors in New

27   York on April 12, 2018. He did not give them his entire file, nor would he have – nor did they ask for
28

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     it. Parloff did not provide the prosecutor, AUSA John Bostic, with any notes or recordings of any of
1
2    his interviews with any other sources. And the AUSA scrupulously did not press Parloff for any

3    disclosure that he said he was in any way uncomfortable disclosing. The AUSA and Parloff knew that

4    there were DOJ Guidelines that recognized the Reporter’s Privilege imperatives. Among other things,
5
     those Guidelines require DOJ approval before any subpoena may be issued to compel a journalist to
6
     disclose newsgathering materials. They articulate the purpose behind the privilege. And they provide
7
     a structure by which reasonable, focused and limited disclosures can be sought. See 28 C.F.R.
8
     § 50.10.
9
10             That Parloff waived the Reporter’s Privilege as to his interviews with Holmes does not mean

11   that he has waived it as to all matters. A waiver will only be found where disclosure to one party of
12   material would unfairly prejudice the other; where (as here) the same material has been provided to
13
     both sides, there is no unfairness. Michael v. Estate of Kovarbasich, 2015 U.S. Dist. LEXIS 168901,
14
     at *12-15 (C.D. Cal. Dec. 11, 2015). To suggest otherwise, would make any form of proper
15
     compliance impossible and it would force resistance to any subpoena no matter how limited or
16
17   reasonable it might be.

18             The Reporter’s Privilege cannot be overcome, and indeed, Rule 17 cannot be met, by

19   speculation that something helpful might turn up. The reality is that Defendant’s counsel has no
20   idea what is to be found in the reporter’s files that they now want to “inspect.” Counsel certainly has
21
     no idea what any such “notes” or “recordings” or “communications” 3 might say or contain, and has
22
     provided no coherent account as to how such material would be relevant to the case. Holmes states
23
24
25
26   3
       Most of any “communications” with sources from 2014-2016 would have been via Parloff’s emails
     at Fortune. However, neither Parloff (nor, as Parloff understands, Fortune) retained copies of them.
27   None of the Fortune emails from 2014-2016 were still retained on the Fortune system as of 2018.
     Parloff has not had access to the system since he left Fortune in 2016. To the extent that some may
28   exist, they appear to have been obtained by the prosecutor via subpoenas to Holmes and Theranos.

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     that the information it hopes to obtain concerning Parloff’s interviews with these other persons is
1
2    “consistent with the information Holmes provided before the article was published.” Mot. at 3:13-16.

3              So what? Parloff himself is not in a position to give admissible testimony as to the truth or

4    falsity of any of the statements in his articles, as he had no direct personal knowledge of the
5
     underlying facts. Holmes, on the other hand, has such knowledge. This is not a libel trial, in which
6
     the mix of competing evidence available to a reporter at the time he wrote some article might possibly
7
     be at issue. Elizabeth Holmes is on trial, and it is her conduct and state of mind that matters.
8
               If Holmes told Parloff things that were untrue, the possibility that these statements were
9
10   seconded by other interviewees is irrelevant to whether Holmes misled investors via the Fortune cover

11   story that she and Theranos distributed to investors. Insofar as Holmes circulated Parloff’s Fortune
12   article to investors, she essentially adopted the statements in that articles as Theranos’ own
13
     representations, and she knew whether they were true or false.
14
               The Information is Accessible by Other Means: Of course, even if it were true that some of
15
     these individuals told Parloff the same things as Holmes, it is more than likely that their own source of
16
17   information was Holmes. Parloff cannot give admissible testimony as to the ultimate source of these

18   person’s knowledge. But they can. Most if not all of these “sources” are available to Defendant and

19   within the reach of subpoena. Some may be witnesses in the trial. Defendant has long had access to
20   all of the interviewees inquired about in her Subpoena. Defendant can get whatever she might seek –
21
     relevant or not – directly from those witnesses without having to overcome a reporter’s privilege to do
22
     so. Defendant has had over two years in which to do this. It is also significant that “consistent”
23
     statements are by definition cumulative. Needless to say, an inconsistent statement would not be
24
25   helpful to Holmes.

26             Background Facts about the Materials Sought: Without waiving the privilege asserted here,

27   it will be instructive to note at the outset that of the 12 categories of materials demanded in the
28

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     Subpoena: Three (3) of them do not exist; Five (5) of them are confidential and entirely on
1
2    background; Several include confidential comments on background; and the Three (3) that seek

3    “communications” relate, with minor exceptions, to Fortune emails which Parloff no longer has

4    access to and which appear to no longer exist. As to Heather King, she did not join Theranos until on
5
     or about May 2015, eleven months after Parloff’s June 2014 cover story. Dawn Schneider did not
6
     begin consulting for Theranos until sometime after the cover story was published, and she stopped
7
     consulting for it in or around May 2015. And none of the named persons inquired about had any
8
     medical expertise that would have enabled them to opine on the merits or demerits of Theranos’
9
10   technology. None of this justifies a wishful search through a journalist’s files.

11                                                 ARGUMENT
12        I.        The Ninth Circuit, the Second Circuit and Other Circuits, Recognize a Robust First
                    Amendment Reporter’s Privilege in All Proceedings Other than Grand Jury
13
                    Proceedings
14
               The Ninth Circuit is among those circuits, including the Second Circuit – where Parloff lives
15
     and works and where Fortune is published – that recognize a robust First Amendment Reporter’s
16
     privilege in all but the grand jury context. In Shoen v. Shoen, 48 F.3d 412, 416 (9th Cir. 1995)
17
18   (“Shoen II”), the court set out the test for overcoming that privilege; the party seeking information

19   must show that the requested material is “(1) unavailable despite exhaustion of all reasonable

20   alternative sources; (2) noncumulative; and (3) clearly relevant to an important issue in the case.”
21
     This test applies to non-confidential information as well as confidential. Shoen v. Shoen, 5 F.3d 1289,
22
     1295 (9th Cir. 1993) (“Shoen I”) 4 The Second Circuit, in Gonzales v. Nat’l Broad. Co., 194 F.3d 29,
23
24   4
       “[T]he journalist’s privilege applies to a journalist’s resource materials even in the absence of the
     element of confidentiality. We add, however, that the absence of confidentiality may be considered in
25   the balance of competing interests as a factor that diminishes the journalist’s, and the public’s, interest
     in non-disclosure.” Id.; accord, U.S. v. Cutler, 6 F.3d 67, 71 (2d Cir. 1993) (“[T]o protect the
26   important interests of reporters and the public in preserving the confidentiality of journalists’ sources,
     disclosure may be ordered only upon a clear and specific showing that the information is: highly
27   material and relevant, necessary or critical to the maintenance of the claim, and not obtainable from
     other available sources.”) (citations omitted). “We see no legally-principled reason for drawing a
28   distinction between civil and criminal cases,” the Cutler court added, “when considering whether the

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     35 (2d Cir. 1999), similarly recognizes a qualified Reporter’s Privilege for non-confidential and
1
2    confidential information:

3              “If the parties to any lawsuit were free to subpoena the press at will, it would likely
               become standard operating procedure for those litigating against an entity that had been
4              the subject of press attention to sift through press files in search of information
               supporting their claims. The resulting wholesale exposure press files to litigant
5
               scrutiny would burden the press with heavy costs of subpoena compliance, and could
6              otherwise impair its ability to perform its duties—particularly if potential sources were
               deterred from speaking to the press or insisted on remaining anonymous because of the
7              likelihood that they would be sucked into litigation.” 5

8              The Gonzales test, though using different language, is similar in substance to Shoen II.
9
     Disclosure of confidential or non-confidential newsgathering materials can be compelled “only upon a
10
     clear and specific showing that the information is: (1) highly material and relevant, (2) necessary or
11
     critical to the maintenance of the claim, and (3) not obtainable from other available sources.”
12
     Gonzales, 194 F.3d at 31 (citations omitted).
13
14             Holmes’ counsel argues that “The Fifth and Sixth Amendments guarantee [her] right to

15   compel the production of evidence for her defense,” and that federal grand jury courts have rejected
16   any First Amendment reporter’s privilege “absent bad faith or harassment.” See Mot. at 2:24-25, 8:5-
17
     19. This “bad faith and harassment” test comes from Branzburg v. Hayes, 408 U.S. 665 (1972), in
18
     which the Supreme Court recognized a weaker Reporter’s Privilege in the grand jury contexts. The
19

20
21   reporter’s interest in confidentiality should yield to the moving party’s need for probative evidence.”
     Id. (citation omitted). Further, even the Department of Justice’s own guidelines recognize these
22   values when seeking confidential or non-confidential information from journalists – in the grand jury
     context or otherwise. See 28 C.F.R. § 50.10.
23
     5
      It is true that some Circuits have taken a different view, and have declined to recognize a Reporter’s
24   Privilege; but since these Circuits are expressly departing from the doctrine prevailing in this Circuit
     and in the Second Circuit, the cases relied upon by Holmes are inapplicable. See U.S. v. Smith, 135
25   F.3d 963, 969 (5th Cir. 1998) (“Although some courts have taken from Justice Powell's concurrence a
     mandate to construct a broad, qualified newsreporters’ privilege in criminal cases, [citing U.S. v.
26   LaRouche Campaign, 841 F.2d 1176, 1182 (1st Cir. 1988) and U.S. v. Cuthbertson, 630 F.2d 139,
     147 (3d Cir. 1980)] we decline to do so.”) ; McKevitt v. Pallasch, 339 F.3d 530, 532-33 (7th Cir.
27   2003) (Siding with 5th Circuit and Smith, specifically noting disagreement with Schoen, Gonzalez, and
     Cuthbertson).
28

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     Ninth Circuit cases relied upon by Holmes are grand jury cases. 6 Among the reasons why grand jury
1
2    testimony is distinguishable from other proceedings is that the grand jury itself is deemed to be a

3    procedural check on government overreach, and because the grand jury operates in secrecy.

4              But the Ninth Circuit has expressly confined the holding of Branzburg to the grand jury
5
     context. In one of the early cases following Branzburg, the Ninth Circuit commented that “The
6
     application of the Branzburg holding to non-grand jury cases seems to require that the claimed First
7
     Amendment privilege and the opposing need for disclosure be judicially weighed in light of the
8
     surrounding facts and a balance struck to determine where lies the paramount interest.” Farr v.
9
10   Pitchess, 522 F.2d 464, 468 (9th Cir. 1975). Farr involved a criminal case, in which the information

11   sought from the journalist would have revealed who among the prosecutors or court personnel had
12   leaked information in direct violation of a court order to protect defendant’s right to avoid prejudicial
13
     pretrial publicity rights. Id. at 468-69. While in that context the court held that the criminal justice
14
     system’s interest in enforcing its own orders outweighed the journalist’s interest in preserving
15
     confidentiality, it did not apply the “bad faith and harassment” test proposed by Holmes. See also
16
17   U.S. v. Pretzinger, 542 F.2d 517, 520-21 (9th Cir. 1976) (district judge properly balanced “the interest

18   of confidentiality of news sources against the needs of the criminal justice system to know the identity

19   of the source in determining whether or not to require disclosure,” and did not err in refusing to
20   require disclosure of the sources’ identity.)
21
               Indeed, in In re Grand Jury Proceedings, relied upon by Holmes, the Ninth Circuit quite
22
     expressly noted that in Farr it had applied a different standard from Branzburg because it did not
23
     involve “testimony before the grand jury.” 5 F.3d at 402.
24
25
26   6
      See Mot. at 7:9-9:27 (citing Branzburg and Lewis v. United States, 517 F.2d 236, 237 (9th Cir.
27   1975); United States v. Glassdoor, Inc., 875 F.3d 1179, 1189-92 (9th Cir. 2017); In re Grand Jury
     Proceedings, 5 F.3d 397, 400-03 (9th Cir. 1993); In re Grand Jury Subpoenas, 438 F. Supp. 2d 1111,
28   1115-19 (N.D. Cal. 2006).

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                In Shoen I, the Ninth Circuit, in upholding the Reporter’s Privilege in the civil context,
1
2    expressly relied on cases that had held that the Reporter’s Privilege applied in criminal cases (outside

3    the grand jury context.) Shoen I, 5 F.3d at 1294-96 (citing LaRouche Campaign and Cuthbertson).

4               As the Court reasoned in Cuthbertson, “A defendant’s “sixth amendment and due process
5
     rights certainly are not irrelevant when a journalists’ privilege is asserted,” but rather than negate the
6
     privilege, they are “important factors that must be considered in deciding whether, in the
7
     circumstances of an individual case, the privilege must yield to the defendant's need for the
8
     information.” 630 F.2d at 147-48 (relying on Farr among other authorities). 7
9
10              Tellingly, Holmes never mentions any of the landmark rulings from the Ninth or Second or

11   other Circuits, proceeding on the assumption that there simply is no Reporter’s Privilege in federal
12   court. And, as discussed further in Section III, Rule 17 imposes similar limitations on a criminal
13
     litigant’s use of a trial subpoena (not the same as a grand jury subpoena, for which there are different
14
     considerations). Speculation is a decisively inadequate basis for subjecting Parloff to the Subpoena’s
15
     demands. 8
16
17        II.       Holmes Cannot Meet the Ninth Circuit’s Shoen II Test or the Analogous Second
                    Circuit’s Gonzales Test as to either Confidential or Non-Confidential Information
18
19
     7
       Similarly, the Second Circuit, in Gonzales, noted how in a previous case, a criminal defendant “had
20   to show a sufficient need for the information to overcome the privilege.” 194 F.3d at 34; Cutler, 6
     F.3d at 73-74; see id. at 34 n.3. More recently, the Eleventh Circuit, in U.S. v. Capers, 708 F.3d 1286,
21   1303 (11th Cir. 2013), affirmed a district court’s denial of motion to compel compliance with a Rule
     17 subpoena, and held that the “qualified privilege for journalists, [which] allow[s] them to resist
22   compelled disclosure of their professional news gathering efforts[,] . . . . shields reporters in both
     criminal and civil proceedings.”
23
     8
       Holmes’ reliance on United States v. Schneider is odd, to say the least. According to Holmes, the
24   journalist in that criminal case had moved to quash a subpoena on reporter’s privilege grounds and
     “the Court denied [the] motion. Mot. at 8:25-9:1. But, actually the Court in Schneider granted the
25   motion to quash, on the grounds, among other things, that the government had “failed to exhaust the
     variety of discovery sources already available to it.” United States v. Schneider, 2003 U.S. Dist.
26   LEXIS 27324, at *1, *21 (N.D. Cal. Nov. 18, 2003). As discussed herein, Holmes subpoena fails for
     the same reason. To be sure, the Court grounded its ruling on Rule 17 rather than the Reporter’s
27   Privilege. The statement in that case that the Branzburg bad faith/harassment standard applies in
     criminal cases outside the grand jury contact was unnecessary to the Court’s disposal of the motion,
28   and ignored the considerable authority to the contrary.

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               One cannot address the assertion of a Reporter’s Privilege without addressing either the Ninth
1
2    Circuit’s ruling in Shoen II, or the Second Circuit’s ruling in Gonzales. But that is what Defendant

3    has done here. She cites neither. She addresses neither of the Ninth and Second Circuits’ parallel

4    tests.
5
               The tests are largely consistent on 1) the basis of the privilege, 2) the balancing analysis that
6
     the privilege calls for; and 3) the tests that they apply which use slightly different language for the
7
     same substantive tests. Both Shoen II and Gonzales found the Reporter’s Privilege to be based on the
8
     First Amendment on their reading of Branzburg as well as on the federal common law privilege.
9
10   Schoen II, 48 F.3d at 414; Gonzales, 194 F.3d at 35 n.6. Both ruled that the privilege applied to non-

11   confidential newsgathering materials as well as to confidential materials. Schoen II, 48 F.3d at 414;
12   Gonzales 194 F.3d at 36. Both applied the same balancing analysis to their tests. And both imposed
13
     specificity requirements that an inquiring party must meet. No sifting is allowed, nor are open
14
     searches permitted to see if the test might be met. One does not get to break the privilege to test the
15
     privilege. 9
16
17             The Limited Relevance of Parloff’s Testimony: To examine whether Holmes requested

18   materials or potential testimony meets the relevant test, let us review the limited testimony as to which

19   Parloff has waived the privilege, and consider how anything outside the bounds of that limited
20   testimony could be relevant or admissible.
21
               Parloff can and will testify as to only three things: 1) What Holmes said to him; 2) What he
22
     took her statements to mean in the setting of the questions that he asked of her; and 3) What he wrote
23
24
25
26
     9
      See Farr, 522 F.2d at 468-69. The qualified privilege requires “that the claimed First Amendment
27   privilege and the opposing need for disclosure be judicially weighed in light of the surrounding facts
     and a balance struck to determine where lies the paramount interest.” Id. at 468.
28

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     and published. He can and will authenticate the Cover Article and the notes and tapes of his
1
2    interviews with Holmes.

3              He cannot testify, for example, that Holmes showed his Fortune cover story to investors. He

4    may understand that to be so via third parties, as reporters often do, but he cannot testify to that on
5
     personal knowledge. His knowledge of that is through hearsay. That is something that the prosecutor
6
     must prove independently. Such hearsay is properly the stuff of news reporting; but not of trials.
7
               If either the prosecution or defense wishes to examine Parloff as to any belief he may presently
8
     have as to whether Holmes lied or deliberately misled him, there is only a limited extent to which such
9
10   testimony might be relevant or admissible. He could testify, for example, as to whether

11   inconsistencies in her various statements over time led him to such a belief. But he cannot provide
12   admissible testimony as to the underlying truth or falsity of the medical/technical representations
13
     made by Holmes or anyone else, as he has no direct personal knowledge thereof and is not an expert
14
     witness.
15
               Parloff’s testimony and indeed the trial cannot be about how his articles were researched,
16
17   whether he should or should not have believed Holmes at different points in time, or how he learned

18   from other reporting, like that of the Wall Street Journal’s John Carreyrou, that Holmes was lying.

19   Those are interesting things for a documentary or other news and commentary, but they are not the
20   stuff that a trial should include or feature.
21
               Defendant’s Subpoena and Motion reach for interview notes and recordings of over nine other
22
     possible sources. Presumably, Defendant’s counsel would like to argue with Parloff that he should
23
     have believed Holmes because of what other sources said at the time. But what Parloff believed and
24
25   when is of no import. The prosecution must prove the falsehoods independently of Parloff –

26   independently of any hearsay he may have gleaned from other sources. Such hearsay, if it exists, is

27   irrelevant, inappropriate and inadmissible. What Parloff can contribute to the issue of the falsehood of
28

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     Holmes 2014 statements to him is limited: specifically, the fact that those statements baldly
1
2    contradicted statements that Holmes later told Parloff in 2015.

3              As to the notes and recordings of other interviews, Defendant does not know what is in the

4    interview notes or recordings of other sources. But what is known about them is this: 1) The named
5
     individuals have no expertise in blood testing, medicine or engineering; 2) they likely only echo what
6
     they were told by Holmes; 3) the notes and recordings of their interviews might well reveal that they
7
     were laboring under the same falsehoods that many others were. If there are such things to be found
8
     in the interviews, the prosecutor does not presently have them. And the prosecutor does not presently
9
10   have them because Parloff did not give them to the prosecutor.

11             We review here what the Shoen II and Gonzales tests require when a litigant seeks to compel a
12   non-party journalist to disclose both confidential and non-confidential news-gathering materials.
13
               A necessary corollary of the robust test applied in both the Ninth and Second Circuits in order
14
     to overcome the Reporter’s Privilege, is that a party cannot use court processes to conduct a fishing
15
     expedition into the media’s files. Gonzales is probably the most frequently cited authority on this
16
17   issue in the lower federal district courts within the Second Circuit and by other circuit courts as well.

18   The most frequently cited passage from Gonzales is its articulation of the purpose and foundation of

19   the Reporter’s Privilege. That passage is instructive on how the Reporter’s Privilege test should be
20   applied:
21
               If the parties to any lawsuit were free to subpoena the press at will, it would likely
22             become standard operating procedure for those litigating against an entity that had been
               the subject of press attention to sift through press files in search of information
23             supporting their claims. The resulting wholesale exposure of press files to litigant
               scrutiny would burden the press with heavy costs of subpoena compliance, and could
24             otherwise impair its ability to perform its duties—particularly if potential sources were
25             deterred from speaking to the press, or insisted on remaining anonymous, because of
               the likelihood that they would be sucked into litigation. Incentives would also arise for
26             press entities to clean out files containing potentially valuable information lest they
               incur substantial costs in the event of future subpoenas.
27
     Id. at 35 (emphasis added). Judge Leval follows this statement of purpose with this conclusion:
28

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               For these reasons, we reaffirm that the qualified privilege for journalists applies to
1              nonconfidential, as well as to confidential information.
2
     Id. At least two important principles are to be drawn from the Gonzales Court’s articulation of the
3
     special purpose of this Privilege:
4
               a. No “Sifting” through Journalists’ Files: Parties should not be empowered by courts to
5
6                   “sift” through a journalist’s files to see if there might be some possibly useful materials

7                   that will aid their case. Gonzales, 194 F.3d at 35 (emphasis added); see, e.g., Sikelianos v.

8                   City of New York, 05 CIV. 7673 RJS/JCF, 2008 WL 2465120 at *1 (S.D.N.Y. June 18,
9                   2018) (“A litigant seeking nonconfidential materials will not be granted unfettered access
10
                    to ‘sift through journalists[’] files in search of information supporting [his] claims . . ..’”
11
                    (internal brackets omitted).
12
               b. Particularized/Specific Need Required: There must be particularized need; not just a general
13
14                  contention that the files sought must be relevant because they are all “about” the subjects

15                  or possible interviewees of a news report that overlap the subjects of the litigation.

16                  Generalized likely or generalized possible relevance will not do. The material to be
17
                    disclosed must be specifically identified – enough to be able to show that it will be “clearly
18
                    relevant to an important issue in the case,” Shoen II, 48 F.3d at 417, i.e., relevant to a
19
                    “significant” matter in the case – one that could not be obtained by other means.
20
                    Gonzales, 194 F.3d at 36 (emphasis added). Listing known or potential sources does not
21
22                  achieve that. The subpoenaing party’s interest must be concretely identified before it is

23                  balanced against the harm to the journalist. Here the need is not particularized, not likely
24                  relevant, and not admissible.
25
26             Required Nexus to a “Significant Issue”: Speculation about likely relevance must be attached

27   to a “significant issue.” That means that generalized statements of possible or likely relevance will

28   not suffice. See, e.g., In re McCray, Richardson, Santana, Wise, Salaam Litig., 991 F. Supp. 2d 464,

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     469 (S.D.N.Y. 2013) (“In re McCray”), citing Gonzales, 193 F.3d at 36 and Sikelianos, 2008 WL
1
2    2465120 at *1. And they should not suffice, since that can be said of most reporters’ files. There

3    might be some good materials for a sparkling cross-examination; there might be some good

4    observations about the parties that offer nice color commentary at a trial; or there might be some
5
     cumulative evidence that give further weight to a case. Surely there might be something along those
6
     lines in most reporters’ files. But that kind of inquiry – that kind of sifting – is precisely what is
7
     prohibited.
8
               Balancing Test: The test is a species of “balancing” test since it attempts to assess and weigh
9
10   the need of the litigant (relevance, significance and unavailability) against the harm and burden

11   imposed on the non-party journalist. The Gonzales court points with approval to the “balancing”
12   called for by the Third Circuit in Cuthbertson, 630 F.2d at 147, a case which also cited with approval
13
     by the Ninth Circuit in Shoen I, 5 F.3d at 1295-96. The test requires “balancing the defendant’s need
14
     for the material sought against the interest of the journalist in preventing production in a particular
15
     case.” Id.
16
17             When confidential materials are at issue, Shoen/Gonzales demands an even stricter test.

18   It is not sufficient to contend that something in the file might provide some fodder for cross-

19   examination; or that they might reveal cumulative proof; or that it might furnish color commentary or
20   background.
21
               In re McCray was a high-profile civil case adjunct to a criminal case involving the Central
22
     Park Five. Applying the balancing test, the court rejected efforts to obtain unpublished, non-
23
     confidential outtakes from a documentary about the Central Park Five. In re McCray, 991 F. Supp. 2d
24
25   at 470. There, the subpoenaing Defendants offered a “laundry list of reasons” why the interview

26   outtakes sought might be relevant as potential impeachment material. Id. at 470 n.2. But the court

27   held that was “insufficient.” Id. at 470.
28

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                 Like Defendant Holmes and like the plaintiff in Sikelianos, the In re McCray defendants could
1
2    not point to any particular interview or outtake that would provide the evidence they sought. See id.

3    As with Holmes and Sikelianos, the defendants only made general claims that the outtakes were likely

4    to contain relevant material. See id. And like the plaintiff in Sikelianos, even though defendants did
5
     show specificity for the outtakes, that factor was “not enough to overcome the standard for relevance
6
     under Gonzales.” Id. There was no nexus to a significant issue in the case.
7
                 The In re McCray court also found that the defendants failed to meet the second prong of the
8
     Gonzales test, which states that the requesting party must show that the materials sought are “not
9
10   reasonably obtainable from other sources.” Id., citing Gonzales, 194 F.3d at 36. Here Holmes had

11   and has access to the other listed sources – for over two years.
12        III.      Holmes Has Failed To Meet Her Rule 17(c) Burden Under Nixon
13
14               Holmes acknowledges that her Subpoena must satisfy the “relevancy,” “admissibility” and

15   “specificity” requirements of Fed. R. Crim. P. 17(c). Mot. at 2:26-3:2, citing U.S. v. Nixon, 418 U.S.

16   683, 700 (1974). However, as Parloff asserted in his Objections to the Subpoena, Holmes has failed
17
     to clear each of the Rule 17 hurdles. See Exhibit B (Dkt. 1028-1, at 12-13).
18
                 As the Supreme Court in Nixon noted, a criminal subpoena duces tecum “was not intended to
19
     provide a means of discovery for criminal cases.” 418 U.S. at 698-99 (citation omitted). See also
20
     Cuthbertson, 630 F.2d at 146 (“Courts must be careful that [R]ule 17(c) is not turned into a broad
21
22   discovery device, thereby undercutting the strict limitation of discovery in criminal cases found in

23   Fed. R. Crim. P. 16.”). Courts premise production of documents under Rule 17(c) upon the moving
24   party showing:
25
                 (1) that the documents are evidentiary and relevant; (2) that they are not otherwise
26               procurable reasonably in advance of trial by exercise of due diligence; (3) that the party
                 cannot properly prepare for trial without such production and inspection in advance of
27               trial and that the failure to obtain such inspection may tend unreasonably to delay the
28

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               trial; and (4) that the application is made in good faith and is not intended as a general
1              ‘fishing expedition.’
2
     Nixon, 418 U.S. at 699-700 (citation omitted). See also Mot. at 7:23-24, 8:5-28, citing Schneider,
3
     2003 U.S. Dist. LEXIS 27324, at *16-17, 21 (quashing Rule 17 subpoena under Nixon where moving
4
     party had failed to show material sought was “relevant, specific, and non-cumulative”).
5
6              Holmes’ own authority recognizes that “only relevant and admissible documents that are

7    requested with specificity must be produced.” Mot. 8:5-28, citing U.S. v. Libby, 432 F. Supp. 2d 26,

8    48 (D.D.C. 2006). “And this will encompass a limited category of documents in a limited number of
9    cases.” Id. Here, unlike in Libby, Parloff’s conversations with Holmes do not “form the predicate for
10
     several charges in the indictment.” Id. Nevertheless, Parloff has provided recordings and notes of his
11
     conversations with Defendant – without being commanded to do so, as in the likes of Libby, Cutler,
12
     and Nixon. See id.; Cutler, 6 F.3d at 73; see also Nixon, 418 U.S. at 700-01 (“most of the tapes” at
13
14   issue “apparently contain conversations to which one or more of the defendants named in the

15   indictment were party”). In other words, Parloff has provided any documents that are reasonably

16   deemed “relevant and admissible” already. But not more. That some are “relevant and admissible”
17
     does not make all “relevant and admissible.” If that were so, there would be no need for Rule 17 or
18
     Shoen analysis. Holmes’ overreaching logic does away with any kind of specificity requirement.
19
     That is not the law.
20
               Holmes’ relevance theory for Parloff’s unpublished source materials – as to Parloff’s potential
21
22   testimony or otherwise – makes no sense. Even if the materials tended to make it “more probable”

23   that Parloff’s other sources made statements that were “consistent with the information Ms. Holmes
24   provided,” that “fact” would be of no “consequence” in determining the truth of Holmes’ statements
25
     to investors. Mot. at 3:13-16; Fed. R. Evid. 401. As discussed above, the possibility that Holmes’
26
     statements were seconded by other interviewees is irrelevant to whether Holmes misled investors.
27
     Here, as in Cutler, “The comparative impact of [the defendant’s] public statements . . . manifestly
28

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     depends upon what was published on that subject, not upon what is in the Reporters’ unpublished
1
2    notes.” 6 F.3d at 74.

3              As to admissibility, Holmes claims the unpublished materials she seeks are “non-hearsay,

4    because she will not offer the statements they contain for their truth.” Mot. at 6:17-18, citing Fed. R.
5
     Evid. 801(c). Yet she seeks unpublished statements that are “consistent with” her own. Mot. at 3:15.
6
     That sounds like “truth” simply by another name.
7
               Again, Holmes does not know what statements Parloff’s unpublished materials contain. As
8
     the Cuthbertson court noted, “the mere hope that some exculpatory material might turn up” does not
9
10   justify enforcement of a subpoena under Rule 17(c). 630 F.2d at 146.

11             United States v. Sleugh – Holmes’ Ninth Circuit authority referencing the Nixon test – leads to
12   the same result. 896 F.3d 1007 (9th Cir. 2018); see Mot. at 2:25-3:2. In that case, a criminal
13
     defendant sought access to the sealed Rule 17(c) subpoena applications of a co-defendant who had
14
     testified against him. 896 F.3d at 1011. The Ninth Circuit affirmed the lower court’s denial of that
15
     access. Id. at 1018. The defendant had failed to “explain,” the Ninth Circuit stated, how the materials
16
17   “could be used to show that [the co-defendant’s] trial testimony was false. Sleugh simply speculates

18   that the assertions of counsel in [the co-defendant’s] Rule 17(c) subpoena applications must be

19   different from [his] trial testimony.” Id. at 1015 (emphasis added). Underlying the defendant’s
20   argument was an “assumption” that the co-defendant’s trial testimony “was inconsistent with any
21
     defense theory that [the co-defendant’s] counsel proffered in the pre-trial Rule 17(c) subpoena
22
     applications.” Id. “Sleugh assumes too much,” the Ninth Circuit concluded, noting that “[n]othing
23
     about the face of [the] Rule 17(c) subpoena applications suggests that the affidavits in support of those
24
25   applications would be likely to undercut [the co-defendant’s] testimony.” Id.

26             Here – to the extent the Government calls Parloff to testify – Holmes has pointed to nothing in

27   Parloff’s Fortune articles (see Exhibits C-E, Dkt. 1028-1, at 16-35) that would suggest any
28

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     unpublished reporting material would be likely to undercut what the articles reported. Id. As shown,
1
2    Holmes “simply speculates” and ultimately “assumes too much.” Id. 10

3                                                 CONCLUSION

4
               Because Holmes has failed to meet the necessary tests under either the robust Reporter’s
5
6    Privilege recognized by this and the Second Circuit, or Rule 17, this Court should deny Holmes’

7    Motion To Compel in all respects. The Court should also grant a Protective Order or Motion in

8    Limine limiting the scope of Parloff’s testimony to that concerning his communications with
9
     Defendants Holmes and Balwani, together with such other and further relief as the Court deems just
10
     and proper, including fees and costs.
11
     Respectfully submitted,
12
     October 4, 2021                                        ________/s/________________________
13
                                                            Joshua Koltun
14
                                                            ________/s/________________________
15                                                          David S. Korzenik
16                                                          ________/s/________________________
17                                                          Terence P. Keegan

18                                                          Attorneys for Non-Party Witness Roger Parloff

19

20
21
22
23
24
     10
        Holmes also hopes to find impeachment material to wield against Parloff and “expos[e] his “bias.”
25   Mot. at 3:7-10, 5:16, 6:22. However, such prior statements “ripen into evidentiary material for
     purposes of impeachment only if and when the witness testifies at trial.” Cuthbertson, 630 F.2d at
26   144; Nixon, 418 U.S. at 701-02. Even where a movant has specified would-be impeachment
     statements – which Holmes has not – courts do not grant access to such material until after the witness
27   testifies, to the extent the witness testifies at all. See Cuthbertson, 630 F.2d at 145. And the canard of
     “bias” makes even less sense here. The Fortune cover article was entirely favorable to Holmes. It
28   reports favorably what Holmes said.

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                                         CERTIFICATE OF SERVICE
1
2              I hereby certify that on October 4, 2021, I filed this motion/memorandum, the accompanying

3    declaration of Roger Parloff, and the [Proposed] Order via email to the Court’s Criminal Case

4    Systems Administrator/Docket Clerk for entry onto the electronic docket (as we do not yet have
5
     access to that docket), and for ECF service on all parties. In addition, I emailed a copy of this
6
     motion/memorandum, declaration and [proposed] order on October 4, 2021 to John D. Cline, attorney
7
     for Elizabeth Holmes.
8
9
10   I declare under penalty of perjury under the laws of the United States that the foregoing is true and

11   correct.
12   Executed on October 4, 2021 at San Francisco, California
13
14                                                                 _______/s/_________
                                                                   Joshua Koltun
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